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Attorneys for Plaintiff
ALINA KORSUNSKA
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
ALINA KORSUNSKA, ) Case No.: CV13-7010 CAS (AJWX)
Plaintiff, §
) DECLARATION OF ALINA
VS~ ) KORSUNSKA IN sUPPoRT 0F
) PLAINTIFF’S OPPOSITION TO
Department of Homeland Securlty, ) MOTION FOR SUMMARY
Federal Defendant. § JUDGMENT
)
) Hearing Date: July 28, 2014
) Hearing Time: 10:00 a.m.
) Courtroom: 5 - 2nd F100r
)
) Hon. Chn`stina A. Snyder
) U.S. Distn`ct Court Judge

 

DECLARATION OF ALINA KORSUNSKA - 1

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l, Alina Korsunska, hereby declare and state the following:

1. 1 am a party to the above-entitled case.

2. l submit this declaration in support of my opposition to Federal
Defendant’s Motion for Summary Judgment. l have personal knowledge of the
following facts, and if called as a witness, I could and would competently testify
thereto in a court of law, under oath, subject to the penalty of perjury.

3. l began working for the U.S. and Immigration Services (hereinafter
“USCIS”) in August 2008.

4. On October 15, 2009, I was wrongly terminated because of my
national origin (Ukraine) and religion (Judaism). On November 13, 2009, I filed a
charge of discrimination with the USCIS EEO.

5. On June 9, 2010, l reached a non-monetary settlement with the
Department of Homeland Security (hereinafter “DHS”) whereby my electronic
Official Personnel File would reflect that I resigned for personal reasons. I did not
ask for monetary damages from the Agency, I simply wanted a clear record and
fair performance evaluation. Accordingly, DHS was to also provide a neutral
reference to potential employers whereby Eva Aldrete-Herring would tell potential
employers my position title, GS grade at the time l resigned, my salary at the time I
resigned, my dates of employment, and that my last performance rating was Fully
Successful. A true and correct copy of the settlement agreement is attached as
EXhibit A to Plaintiff’ s Evidentiary Appendix.

6. ln early January 2011, l learned that Defendant was in breach of the
settlement agreement by not providing the required reference report to potential
employers. On January 17, 2011, I sent a letter to DHS Office of Civil Rights and
Civil Liberties (hereinafter “OCR”) to file a complaint for breach of the settlement
agreement. This complaint did not allege retaliation. A true and correct copy of

the letter is attached as Exhibit B to Plaintiff’ s Evidentiary Appendix.
DECLARATION oF ALINA KORSUNSKA - 2

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7. On March 8, 2011, DHS-OCR determined that the agency did not
breach the agreement and that l did not suffer any harm from the Agency’s
conduct. A true and correct copy of that decision is attached as Exhibit C to
Plaintiff’ s Evidentiary Appendix. I abandoned this complaint because of personal
circumstances.

8. ln July of 201 1, I discovered a May 27, 2011 email from the Social
Security Administration (hereinafter “SSA”) notifying me that I was not selected
for positions. Furthermore, I was not selected for any position for which I applied
in 2010 (over ten (10) vacancies). Based on this newly discovered evidence of
discrimination, I initiated a separate and distinct informal claim of retaliation with
the USCIS EEO office on July 8, 2011. During my first intake interview, l told
EEO counselor that l believe USCIS’ employees retaliated against me and
provided negative references to prospective employers. After the interview, EEO
counselor formulated the issues as follows: “Between July 1 and July 8, 2011 l
discovered that l received emails notifying me that I was not selected for positions
at Social Security Administration, which continues a pattern of positions that l
have been not selected for predicated upon the refusal of the personnel of the
USCIS California Service Center to honor the settlement agreement reached
between myself and the agency in June 2010.” This claim was an entirely new
claim of retaliation, and was in no way connected to the January 17, 2011 informal
contact with DHS-OCR.

9. After the USCIS conducted its internal investigation, it provided me a
notice that l could file a formal complaint with DHS-EEO. l did so on or about
August 15, 2011, again alleging that DHS had retaliated against me based on my
prior protected activity by in effect breaching the June 2010 agreement l could
not have filed this complaint on August 21, 2011 as that date is a Sunday and l sent

my complaint by certified mail which would not have been delivered on a Sunday.
DECLARATION oF ALINA KORSUNSKA - 3

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A true and correct copy of Plaintiffs complaint is attached as Exhibit D to
Plaintiff’ s Evidentiary Appendix.

10. On December 2, 2011, DHS dismissed my complaint for failure to
state a claim. A true and correct copy of that decision is attached as Exhibit E to
Plaintiff’ s Evidentiary Appendix.

11. On January 6, 2012, I appealed the December 12, 2011 decision with
the EEOC Office of Federal Operations (hereinafter “OFO”).

12. On May 1, 2012, the EEOC-OFO reversed DHS-EEO’s dismissal and
remanded the case back to the agency to process my complaint as a claim for
breach of agreement. ln its order, the EEOC-OFO advised me that its order was
one requiring the Agency to continue its administrative processing of my
complaint. A true and correct copy of that decision is attached as Exhibit F to
Plaintiff’ s Evidentiary Appendix, see pgs. 2-3 of same. The EEOC-OFO advised
me that I could request a reconsideration of its decision or could terminate the
administrative processing of my complaint by filing a civil action. Id.

13. On or around May 31, 2012, l submitted a request for reconsideration
of the EEOC-OFO’s May 1, 2012 decision re-characterizing my retaliation claim
as one of breach. A true and correct copy of the docketing notification from the
EEOC is attached as Exhibit G to Plaintiff’ s Evidentiary Appendix. In that
request, l challenged the EEOC-OFO’s decision to in effect dismiss my retaliation
claim. l stated that my complaint has two claims, breach and retaliation. l
emphasized that the agency’s employees acted with malice and breach of
agreement was motivated by retaliation. I also said that the agency misinterpreted
and fragmented my complaint to create grounds for dismissal, while my complaint
raises more issues than just non-selection for positions with Social Security
Administration,

14. On June 19, 2012, DHS-OCR issued a final decision on my August
DECLARATION oF ALINA KORSUNSKA - 4

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15, 2011 complaint. A true and correct copy of that decision is attached as
Exhibit H to Plaintiff’ s Evidentiary Appendix.

15. On July 20, 2012, l appealed the DHS-OCR’s June 19, 2012 decision
with the EEOC-OFO. A true and correct copy of that decision is attached as
Exhibit I to Plaintiff’ s Evidentiary Appendix.

16. On November 16, 2012, my request for reconsideration was denied.
A true and correct copy of that decision is attached as Exhibit J to Plaintiff’s
Evidentiary Appendix. In response to my argument that my retaliation claim
should not have been dismissed, the EEOC-OFO stated: “We note that the
arguments asserted by Complainant - that the Agency breached the settlement
agreement with regard to employment references, and that the Agency retaliated
against her with regard to employment references - present essentially the same
question for determination.” Id. at pg. l. Further, the EEOC-OFO directed the
Agency to “consider whether there is evidence of retaliatory motive in the actions
of any personnel involved in the provision of [Plaintiff’ s] employment references.”
Id. at footnote 1. The EEOC-OFO advised me that its order was one requiring the
Agency to continue its administrative processing of my August 15, 2011
complaint. Id. at pgs. 2-3. To the best of my information, knowledge and belief,
the November 16, 2012 order did not “advise [me] that there was no further right
of administrative appeal concerning her retaliation claim” as asserted by
Defendants. (See Federal Defendant’s Motion for Summary Judgment at pg. 8,
lines 11-13.) Rather, it advised that l could terminate the administrative processing
of my complaint by filing a civil action. Id. at pgs. 2-3.

17. In spite of EEOC decision dated November 16, 2012, ordering the
Agency to conduct investigation, no corrective actions have been taken. lnstead,
on February 6, 2013, my appeal dated July 20, 2012, of DHS-OCR Breach

decision dated June 19, 2012, was accepted for processing by EEOC.
DECLARATION oF ALINA KORSUNSKA - 5

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1 18. On June 19, 2013, the EEOC-OFO issued a decision denying my
2 appeal of DHS-OCR’s June 19, 2012 decision. A true and correct copy of that
3 decision is attached as Exhibit 1K to Plaintiff"s Evidentiary Appendix.
4 19. 011 September 20, 2013, aHerl exhausted all available administrative
5 remedies on my August 15, 2011 formal complaint, l timely filed the instant civil
6 action within 90 days fmi the date 1 received the EEoC-oFo’s June 19, 2013
7 decision, which Was June 23, 2013. n
8 l declare under penalty of perjury that the foregoing is true and correct.
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13 ALINA KORSUNSKA, Plaintiff
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DECLARATION or ALINA KORSUNSKA - 6

 

 

 

